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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK



 Cedar Lane Technologies Inc.,                                 Case No. 1-20-cv-04977
        Plaintiff,                                             Patent Case
        v.                                                     Jury Trial Demanded
 B&H Foto & Electronics Corp.,

        Defendant.


                     ORDER GRANTING DISMISSAL WITHOUT PREJUDICE

        The request to dismiss this matter without prejudice is hereby GRANTED. Each party shall

bear its own costs, expenses, and attorneys’ fees.




SO ORDERED.


      October 18, 2020
Date: ____________________            ______________________________________
                                       Hon. Edgardo Ramos
                                       United States District Judge




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